                                   STATEMENT OF FACTS

       Your affiant, Jeffrey Pearson, is a Special Agent with Federal Bureau of Investigation
(FBI). Specifically, I am assigned to the Criminal Division at the FBI’s Washington Field Office
and have been tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a special agent, I am authorized by law to engage in or supervise the
prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The information provided in this affidavit is based on my personal knowledge, observations
made during the course of this investigation, and information conveyed to me by other law
enforcement officials. This affidavit is intended to show only that there is sufficient probable
cause for the requested warrant and does not set forth all of my knowledge about this matter. I
have set forth only the facts and circumstances that I believe are necessary to establish probable
cause to support the requested arrest warrant.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session


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of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                       DOMINIC BOX’S Participation in the Capitol Riot

       U.S. Capitol video footage and countless open source posts, photographs, and videos,
including BOX’s own Facebook livestreams of the events on January 6, 2021, depict
DOMINIC BOX breaching the restricted perimeter of the U.S. Capitol, entering the U.S. Capitol,
and remaining in the U.S. the Capitol.

       During a voluntary interview with the FBI in the presence of his mother on February 10,
2021, BOX identified himself in videos, and largely confirmed the following regarding his
presence in Washington, D.C. on January 6, 2021:

        First, one of BOX’s livestreams of the events on January 6, 2021 was posted to either
Facebook, YouTube, or both. That video captured much of BOX’s march from the Save the Steal
rally, down Pennsylvania Avenue, towards the U.S. Capitol. For example, below are screenshots
from this video, where BOX is seen speaking about going to the Capitol: “we’re . . . heading
towards the halls of Congress . . ..”




        Then, after flipping the camera around, BOX is heard talking on the telephone to an
unknown individual named “Judy,” where he states as follows: “. . . I can confirm that we’re all
en route to Congress, to the Capitol. I can’t confirm that anybody’s, uh, stormed the Capitol or
broken in, but we’re not there yet. We’ve heard reports of explosions and different things . . . but,
uh, I don’t know what you can do to stop a crowd this size, with one thing on their mind. And,
after hearing the [former] President [Trump] speak, specify the numbers and the ways in which


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this election was stolen from us, uh, I can definitely say I’d rather be on this side than the other.
There’s some very, rightfully, disgruntled individuals here.”




       Other open source videos confirm BOX’s path towards the Capitol.




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       Other open source video shows BOX within the Capitol’s restricted perimeter as he
approaches the scaffolding on the west front.




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        Additional open source video of BOX was featured in the HBO documentary “Four Hours
at the Capitol,” where BOX is seen standing near the corner of the Capitol’s lower west terrace,
next to a Capitol Police Officer in riot gear. BOX is seen and heard in the video as he instructs
other rioters about how to overcome the tear gas that law enforcement had recently deployed to
attempt to tame the mob: “Get water on your bandana! Water on your bandana!”




        BOX also elected to be interviewed in the HBO documentary, where he acknowledged his
presence in and around U.S. Capitol on January 6, 2021, and, with a smile, stated as follows in his
interview: “As I’m going up the scaffolding and getting to the steps, there was a kid who probably
captured the emotions I was having . . . I was proud to see the American spirit that was on display.”




This portion of BOX’s path into the Capitol building is also shown in other open source video and
images, where BOX is flanked by rioters who had visibly removed the bicycle racks that indicated
they were breaching a restricted, non-public area.




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       Capitol video footage of January 6, 2021 then shows that around 2:14 pm EST, BOX first
entered the U.S. Capitol through the Senate Wing Door on the northwest side of the building.




         BOX then proceeded to remain illegally in the U.S. Capitol for at least fifteen minutes,
initially, much of which is captured in Capitol video footage and in videos taken by BOX and
stored on his telephone, which he provided to the FBI.

       For example, a Bloomberg Getty Image photorgraph shows BOX walking through the
Senate rotunda, giving the middle finger towards the dome portion of the rotunda.




       Then, in one of the videos BOX turned over to the FBI, BOX captured an interaction he

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and other rioters had with one Capitol Police Officer in the crypt. In the video, the Capitol Police
Officer is seen and heard telling the mob to calm down, saying, “We don’t need any more violence
right now, all right? Calm down. We can stand right here and talk it out, ok?”

        BOX then runs up to the Officer and exclaims, “There’s no talking, there’s no fucking
talking!”




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      Open source video also captures BOX shortly thereafter in the moment where the mob
overwhelms law enforcement in the crypt.




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        BOX also livestreamed on Facebook certain portions of his time inside the Capitol. In one
such video, BOX filmed rioters as they went up a staircase; he can be heard chanting, “USA,
USA . . .” with the mob. Then, BOX is heard stating as follows, referring to his Facebook
livestream: “If you’re watching this live, share right now!” \




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       BOX is also captured in open source video and images in other areas of the U.S. Capitol,
including in a photograph where he is posing for a picture in the Small House Rotunda.




       Capitol surveillance footage also shows him in the first floor House hallway.




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     At approximately 2:35 pm EST, Capitol footage captures BOX leaving through the
Memorial Door on the east side of the U.S. Capitol.




       However, sometime between exiting the Memorial Door at 2:35 pm EST and
approximately 3:04 pm EST, BOX chose to re-enter the U.S. Capitol for a second time.

       In open source video posted to Twitter, BOX is seen around 3:04 pm EST exiting through
the Columbus Door on the east side.




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        Notably, various open source videos show that after this group of rioters exited the
Columbus Door, Capitol Police closed that door. But, undeterred, the video footage then shows
BOX turning towards the crowd and yelling, “We need more people!!” BOX then re-approaches
the closed Columbus Door, helps other rioters re-open it, and briefly enters the Capitol for what
appears to be a third time.




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       Open source video and images further show BOX standing on the east stairs of the Capitol.




        Other open source video and images depict BOX remaining outside the Capitol but within
the restricted perimeter, such as the below screenshot from live coverage by the Washington Post.




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         Based on the foregoing, your affiant submits that there is probable cause to believe that
BOX violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

       Your affiant submits there is also probable cause to believe that BOX violated 40 U.S.C.
§ 5104(e)(2)(D) and (G), which makes it a crime to (D) utter loud, threatening, or abusive
language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in any of
the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session
of Congress or either House of Congress, or the orderly conduct in that building of a hearing
before, or any deliberations of, a committee of Congress or either House of Congress, and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      __________________________
                                                      Jeffrey Pearson, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of December 2022.
                                                                          Digitally signed by
                                                      Robin M.         Robin M. Meriweather
                                                      Meriweather      Date: 2022.12.13
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                                                      _________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




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